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                      Filed on 6/21/2022 2:35:28 PM
                       Docket 22cv3409 (SDNY) (36)
                         United States District Court
                       Southern District of New York
                        Ware v. United States, et al.

 Submitted by:
 The Office of Ulysses T. Ware
 123 Linden Blvd.
 Ste 9-L
 Brooklyn, NY 11226
 (718) 844-1260
 utware007@gmail.com
 /s/ Ulysses T. Ware
 Tuesday, June 21, 2022

                                    ____________________
 Notice to USAG Merrick B. Garland, Judges Laura Taylor-Swain,
 Edgardo Ramos, and Andre Damian Williams, Jr., the U.S.
 Attorney (SDNY), to immediately cease and desist all resistance
 to binding circuit authority, to wit: Adar Bays, LLC v. GeneSys ID,
 Inc., 18cv3023 (2d Cir.) (March 15, 2022).
                                         _________

                                 Certificate of Service
 The government was served with this pleading on 06.21.22 via Damian Williams at
 damian.williams@usdoj.gov, Jun Xiang was served at jun.xiang@usdoj.gov, and
 Merrick B. Garland, via Jeffrey R. Ragsdale, at Jeffrey.ragsdale@usdoj.gov.


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                           The Office of Ulysses T. Ware
                                            123 Linden Blvd.
                                                 Ste 9-L
                                           Brooklyn, NY 11226
                                             (718) 844-1260
                                         utware007@gmail.com

                                          Tuesday, June 21, 2022


 Office of the United States Attorney
 For the Southern District of New York
 1 St. Andrews Plaza
 New York, NY 10007
 Mr. Andre Damian Williams, Jr.
            NOTICE TO IMMEDIATELY CEASE AND DESIST
 Re:     United States v. Ware                      1224
         GX 1-4 (the illegal Notes) and GX-5 (the illegal Subscription Agreement), jointly, (the
          Illegal Contracts 1 are null and void ab initio, unenforceable, illegal, and violated N.Y.
         Penal Law, §190.40, the criminal usury law, a class E felony; and also violated 18 USC
                                                                                               RICO
         Offenses    2


 1
                                 d fraudulent government trial exhibits entered in 1224 via unregistered
                                               -192, (1224), as a fraud on the court, and as an overt act to
 obstruct justice in furtherance of                           -motivated hate crime conspiracy perpetrated
 against Ulysses T. Ware, Esq.

 2
   See Exhibits A, B, C,              Kidnapping Evidence infra, for District Judge (NDGA), Thomas W
 Thrash, Jr., and the U.S. Marshals September 1, 2004, Atlanta, GA kidnapping of Ulysses T. Ware, as an
 overt criminal act to aid and abet the terroristic, brutal, and potentially deadly collection of the unlawful
 RICO debt created by GX 1-4 and GX-5. 18 USC 1961(6)(A) and Id., 1962(a-d). Sand, J., 02cv2219 (SDNY)
 authorized the U.S. Marshals to use whatever force is necessary [i.e., inclusive of deadly force] on Ulysses
 T. Ware to collect the unlawful RICO loan-sharking illegal debt . (paraphrased) (quoting Sand, J., Order).
 In essence Sand, J. authorized the U.S. Marshals to murder Ulysses T. Ware on September 1, 2004, if

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 Mr. Williams:
                                                    I.
          Mr. Ware writes                                                              Ware v. USA,
 et al., 22cv3409 (SDNY), the pending 28 USC 2241(a) actual innocent habeas corpus petition, (the
  Habeas Proceeding
 as a government lawyer, officer of the court, within the scope of Local Rule District Court (SDNY),
 L.R. 1.5(b)(5), DOJ regulations §§9-5.001, and federal law, Fed. R. Crim. P. 5(f), collectively, (the
  Law

         Mr. Williams, I draw to your attention to the recent, June 15, 2022, decision, Dkt. 31
 (Order, dismissing the complaint) entered in Sweet Baby Lightning Enterprises, LLC, and John
 Slater v. Keystone Capital Corporation, et al., 21cv06528 (SDNY) (RA).3 There the District Court




         The District Court in its ana
 as the legal basis for its decision to dismiss the complaint:

                                                         4   is unenforceable in its entirety because it
         charges an interest rate in excess of
         (emphasis added).



 necessary to obtain the bogus and fraudulent Rule 144(k) legal opinions and GPMT s stock certificates for
 10,000,000 free-trading shares of GPMT s equity worth +$500 million dollars.

 3
  Complaint to enforce and collect on an unlawful debt that violated the rule of law announced in Adar
 Bays.
 4
   Cf., government trial exhibits GX 1-4 and GX-5 entered in 1224 and the basis for the 02cv2219 (SDNY)
 complaint. GX-5, ¶10.1(iv), furthermore, conferred 15 USC 77b(a)(11) statutory underwriter status on
                              Plaintiffs           , a governmental affirmative defense pleaded on the
 face of the 04cr1224 indictment; and moreover, an actual innocent in trial acquittal of all charges in
 1224 given the government is bound by its judicial admissions in its trial exhibits, i.e., an affirmative
 defense to all charges in the 1224 indictment which the government is prohibited from legal argument

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         Mr. Williams, I am sure that as an officer of the court subject to L.R. 1.5(b)(5) disciplinary
 regulations, you will agree that the above reasoning by the Court constitutes actual innocence
 Brady exculpatory and impeachment evidence the USAO is required to immediately disclose to
 Mr. Ware5, and also make the District Court (Ramos, J.) aware of given the Adar Bays Second
 Circuit                  ,

     1. annulled, vitiated, and voided the governme                                               in 1224;

     2. annulled and vitiated the factual basis

          the Article III and 28 USC 1332(a) subject matter jurisdiction for the 02cv2219 (SDNY)

          complaint; and

     3. annulled and vitiated the legal and factual basis for the In re Group Management Corp.,

          03-93031-mhm (BC NDGA) Chapter 11, Dkt. 28, May 2003, Order to dismiss with




 or position that conflicts with its in trial judicial admissions and affirmative defenses presented to the
 grand jury, the trial jury, and presented on appeal in U.S. v. Ware, 09-0851cr (2d Cir.).

 As a matter of law, 03-93031-mhm (BC NDGA), 1224, and 09-0851 (2d Cir) are moot given the
 governmen                         pleaded in GX 5, ¶10.1(iv) in pari material with the Adar Bays decision
 and SEC Release 33-7190 n. 17 (1995).

 5
  See Brady order, Dkt. 32, August 10, 2007, (Sweet, J.), (deceased), 04cr1224. (The government is ordered
 to disclose all Brady exculpatory evidence to the defendant                [and continuing after trial in the
 pending Habeas Proceedings]        (emphasis added). Brady is a continuing obligation of the USAO and
 Damian Williams.


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          prejudice

          Chapter 11.6

                                                       II.

         Mr. Williams, Mr. Ware is sure that you as the purported U.S. Attorney (SDNY), an officer

 of the court, realize that you have an unwaivable ethical

 Courts (SDNY) and the Court of Appeals in regard to all matters in which the USAO has appeared,




 6
  Cf., GX 250-253 (bankruptcy court (NDGA) proceedings)
 AUSAs Maria E. Douvas and Nicholas S. Goldin. The Chapter 11 proceedings, 03-93031 (BC NDGA) were
 criminally, 18 USC 2, 157, 371, rigged and fixed by the Atlanta, GA law firm, Kilpatrick, Townsend, &
 Stockton, LLP, its partners, Dennis S. Meir, Esq., John W. Mills, III, Esq., and the Bankruptcy Judge Margaret
                                                                                               illegal RICO loan-
 sharking debt predicated on GX 1-4 and GX-5, the Illegal Contracts, which violated N.Y. Penal Law,
 §190.40, the criminal usury law, a class E felony.

 Cf., Appx. 6 attached to the 22cv3409 (SDNY) habeas corpus petition for the crimes committed by
 Bankruptcy Judges Wendy L. Hagenau, Margaret H. Murphy, Joyce Bihary, and C. Ray Mullins; and M.
 Regina Thomas and Patricia Sinback to willfully and knowingly obstruct, delay, and impede, Mr. Ware
 from challenging the legality of GX 1-4 and GX-5.

 Once the bogus, fraudulent, and ultra vires Dismissal Order, May 2003, in 03-93031 (BC NDGA) is vacated
 as it must be given the Adar Bays decision, the 11 USC 362 automatic stay is triggered and reinstated,

 fact, as a matter of law, renders the 1224 conviction and sentence null and void ab initio. Hence, the
 reasoning                                                                                 , see Appx. 6 to the
 22cv3409 petition, ergo, to aid and abet, as overt acts in furtherance of                             racially-
 motivated hate crime conspiracy, the continued incarceration and irreparable harm to Ulysses T. Ware as
 a vindictive, racially-motivated, malicious, hatred filled retaliatory racial crime (see Exhibit D, infra). Cf.,
 18 USC 241 and 242.


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 to wit: 04cr1224 and 09-0851 (2d Cir.) that are affected by the Adar Bays decision.7 Mr. Williams,

 as a government lawyer, officer of the court, you were required to immediately once the Adar

 Bays decision was reached on March 15, 2022, to have forthwith notified the District Courts

 (02cv2219 and 04cr1224), the Bankruptcy Court (NDGA) (03-93031) and the Court of Appeals

 (09-0851cr (2d Cir.) of the holding in Adar Bays and the legal effects of that decision on the

 proceedings (cf., 22cv3409 (SDNY), AIS claims, Dkt. 1-6) therein in the respective federal court

 courts.

           Mr. Williams, court records show that you and the USAG Merrick B. Garland recklessly did

 not and have not, fulfilled your duty of candor to the courts; and you both recklessly,

 deliberately, and intentionally concealed and suppressed the legal effects of Adar Bays on the

                                                                                     (SDNY), 03-93031

 (BC NDGA), 04cr1224 (SDNY), 22cv3409 (SDNY), 09-0851cr (2d Cir.), and other related cases (i.e.,

 11-4181, 11-2151, and other appeals of 02cv2219 and 04cr1224), as a fraud on the court, and as

                                                                -motivated hate crime conspiracy to




 7
    Duty of candor refers to the duty of a public authority [the USAO and the DOJ] to disclose material
 facts. The general duty of candor requires attorneys [Andre Damian Williams, Jr., Jun Xiang, Merrick B.
 Garland, Melissa Childs, Nina C. Gupta, Breon Peace, Daniel Gitner, Margaret M. Garnett, et al.] to be
 honest and forthright with courts. The attorneys should also refrain from deceiving or misleading courts
 either through direct representations or through silence. This duty is owed to courts during all aspects
 of litigation. The duty of candor towards the tribunal is a widely recognized one within the legal
                                                                  (emphasis added).

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 protect and shield Alpha Capital, AG (Anstalt) and its affiliates from criminal prosecution and a

 life sentence in federal prison.8

         Mr. Williams, moreover, Mr. Ware is sure that you and the USAG appreciate the limits of

 your lawful authority, 28 USC 547(1, 2), standing, officially, on behalf of the United States, the

 real party in interest, only authorized to prosecute, on behalf of the United States, rather than

 on behalf of Alpha Capital, AG (Anstalt),

 against the laws of the United States, not Alpha Capital, AG (Anstalt), your acts, actions, and

 omissions are in your personal and individual capacity as a lawyer subject to L.R. 1.5(b)(5), in



                                                     III.

         Mr. Williams, your delusional arrogance and hubris, and phony paper credentials caused

 you to lose sight of your professional duties and responsibilities; and like Icarus, you tempted

 Fate, looked into the abyss, the abyss smiled back, and invited you to jump in. Being

 psychologically inebriated with the addictive drug of power, you thought, foolishly, that you



 8
   The September 1, 2004, Atlanta, GA kidnapping of Ulysses T. Ware by the U.S. Marshals, see Exhibits A,
 B, C, and D, infra, to collect the RICO unlawful loan-sharking debt of Alpha Capital, AG (Anstalt) carries a
 life sentence once prosecuted and convicted, 3x civil damages of +$15.22 billion dollars, and punitive
 damages of +$5.22 billion dollars, jointly and severally, in Andre Damian Williams, Jr., Jennifer N. Wynn,
 Charles Schumer, Robert Schumer, Merrick B. Garland, Thomas W. Thrash, Jr., Wendy L. Hagenau, M.
 Regina Thomas, Margaret H. Murphy, Kilpatrick, Townsend, & Stockton, LLP, Edward T.M. Garland,
 Manny Arora, Donald F. Samuel, David Levitt, Michael F. Bachner, Marlon G. Kirton, Alexander H.
 Southwell, David N. Kelley, Edgardo Ramos, Laura Taylor-Swain, et al., individual and personal capacity.

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 could defeat your Fate. Fate chose you for the Office of U.S. Attorney (SDNY) so that you would

 be made an example of what happens to a fraud and a phony unethical person once placed in

 great power. Your downfall was your destiny. Fate sealed your fate once you were smitten by the

 thought of unaccountable power into thinking, without any objective justification, that you were

 qualified for the responsibilities of the Office of the U.S. Attorney (SDNY). The drug of power

 dulled your moral senses to such an extent, even now you think that you can deceive Fate.

        Mr. Williams, being of weak personal and moral character, and of a criminal pedigree, you

 were tempted by avarice and hubris, rather than thoughtful sobriety and proper personal

 assessment. Those in power, the distributors of the power drug, knew you would be a pliable,

 controllable flunky, under the leash of Senator Charles Schumer and his cronies. That was why

 Fate chose you as the linchpin to crash the entire corrupt judicial and prosecutorial edifice in

 place in the SDNY. That is your destiny, and there is nothing that you can do to stop it.

                         You have been exposed and Your fate is sealed!

                                                 IV.

 Conclusion.

        Mr. Williams, given that the Adar Bays, 18cv3023 (2d Cir.), March 15, 2022, decision is

 binding authority on the Courts in the Second Circuit and on the USAO in regard to 02cv2219,

 03-93031 (BC NDGA), 04cr1224, and 09-0851cr (2d Cir.) please notify Mr. Ware not later than

 Wednesday, June 22, 2022, at 12:00 noon, time of the essence, in writing:

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     1. whether or not the USAO will oppose an emergency application in the District Court

         (SDNY) for a TRO and permanent injunction to restrain and prohibit the USAO, the SDNY

         District Courts, the Atlanta, GA bankruptcy court (In re Group Management Corp., 03-

         93031-mhm, Chapter), the State Bar of Georgia, the District Court (NDGA), the Securities

         and Exchange Commission, and any others that have relied on, in whole and/or in part,

         the 02cv2219 (SDNY) null and void ab initio orders (GX 11 and GX 24), judgments (GX-7),

         and proceedings in their respective proceedings;

     2. whether or not the USAO will oppose an emergency application in the Court of Appeals,

         with respect to the rule of law announced in the March 15, 2022, Adar Bays decision, for

         a writ of mandamus and prohibition directed to the District Court (Ramos, J.), 22cv3409

         (SDNY), 04cr1224 (SDNY), and 05cr1115 (SDNY) for the District Court to immediately

         apply the rule of law in Adar Bays                                         and claims in

         04cr1224, 05cr1115, and 22cv3409 (SDNY), and for the immediate adjudication of all Mr.

                                              ; and

     3. for the immediate entry of the required 28 USC 2243 show cause order in 22cv3409

         (SDNY) actual innocent habeas corpus proceedings.



     Mr. Williams, regrettably, this matter has turned acrimonious and gangrenous, due to your

 sadistic nihilism, hubristic recalcitrance, and ambiguous dogmatism in your refusal to follow the

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 rule of law and to enforce the law and the constitution on behalf of Mr. Ware, an American citizen

 absolutely entitled to due process of law, and the equal protection of the laws.

        If the Office of the United States Attorney (SDNY) does not respond in writing to this request,

 Mr. Ware will report to the Courts that he conferred in writing with Andre Damian Williams, Jr.

 on June 21, 2022, in writing and requested that the USAO state its official opinion on whether or

 not:

        (1) the USAO will not oppose the issuance of an emergency TRO and permanent restraining

        order and,

        (2) oppose the issuance of the emergency writ of mandamus and prohibit.

        Mr. Ware will further report to the Courts that Andre Damian Williams, Jr. and the USAO did

 not respond to his request for comment on the imminent emergency applications. If the USAO

 intends to oppose the application of the rule of law announced in binding circuit precedent in

 the March 15, 2022, Adar Bay decision, please provide to Mr. Ware for review the factual basis

 and your memorandum of law with citations of authority that support your position to oppose

 Adar Bays application in the pending proceedings in the District Court and elsewhere.



 Sincerely,



 /s/ Ulysses T. Ware

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          Exhibits
       Sept. 1, 2004,
        Atlanta, GA
        kidnapping
         evidence
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                                         Exhibit A




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                                         Exhibit D




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